     Case 2:15-ml-02668-PSG-SK Document 1462 Filed 06/26/24 Page 1 of 1 Page ID #:52917

                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA

                                                                CIVIL MINUTES - TRIAL

 Case No.         2:15-ml-02668-PSG-SK                                                                             Date            June 26, 2024
 Title:           In re National Football Leagues Sunday Ticket Antitrust Litigation

 Present: The Honorable              PHILIP S. GUTIERREZ, UNITED STATES DISTRICT JUDGE
                             Derek Davis                                                                           Myra Ponce
                             Deputy Clerk                                                                    Court Reporter/Recorder


                 Attorneys Present for Plaintiff(s):                                                   Attorneys Present for Defendants:
                           William Carmody
                             Amanda Bonn                                                                           Beth Wilkison
                           Kalpana Srinivasan                                                                      Brian Stekloff
                              Marc Seltzer                                                                         Rakesh Kilaru
                               Ian Gore

                               Day Court Trial         13th                                   Day Jury Trial
                                                 st
            One day trial:            Begun (1 day);           X      Held & Continued;                Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
      Witnesses called, sworn and testified.                  Exhibits Identified             Exhibits admitted.

      Plaintiff(s) rest.                                      Defendant(s) rest.
 X    Closing arguments made by                        X      plaintiff(s)             X    defendant(s).              X     Court instructs jury.
 X    Bailiff(s) sworn.                                X      Jury retires to deliberate.                                    Jury resumes deliberations.
      Jury Verdict in favor of                                plaintiff(s)                  defendant(s) is read and filed.
      Jury polled.                                            Polling waived.
      Filed Witness & Exhibit Lists                           Filed jury notes.             Filed jury instructions.
      Judgment by Court for                                                                 plaintiff(s)                     defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                             plaintiff(s)                     defendant(s).
      Case submitted.                  Briefs to be filed by
      Motion to dismiss by                                                             is         granted.                 denied.                 submitted.
      Motion for mistrial by                                                           is         granted.                 denied.                 submitted.
      Motion for Judgment/Directed Verdict by                                          is         granted.                 denied.                 submitted.
      Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
 X    Case continued to         June 27, 2024 at 9:00 AM                                        for further trial/further jury deliberation.
      Other:


                                                                                                                               3           :          57

                                                                                        Initials of Deputy Clerk                               DD



CV-96 (10/08)                                                      CIVIL MINUTES - TRIAL                                                                   Page 1 of 1
